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                      EXHIBIT A
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                                                                                                   Annie Rebecca Elliott
                                                                                                            District Clerk
                                                                                                Fort Bend County, Texas
                                                                                                     Layla Helton

                                   Cause No. 16-DCV-233827


FIRST CONTINENTAL LIFE                           §                      IN DISTRICT COURT OF
ACCIDENT INSURANCE CO.,                          §
                                                 §
                Plaintiff,                       §
                                                 §
v.                                               §               FORT BEND COUNTY, TEXAS
                                                 §
SENIOR DENTAL INSURANCE                          §
SOLUTIONS, LLC                                   §
                                                 §
                Defendant.                       §                    240th JUDICIAL DISTRICT

                             DEFENDANT’S ORIGINAL ANSWER

         Defendant Senior Dental Insurance Solutions, LLC (“Defendant”) files this

Original Answer to Plaintiff First Continental Life Accident Insurance Co. (“Plaintiff”)’s

Original Petition.

                                        GENERAL DENIAL

         Defendant generally denies the allegations in Plaintiff’s Original Petition and requests

that Plaintiff be required to prove the charges and allegations against Defendant by a

preponderance of the evidence as required by the Constitution and laws of the State of Texas.

                                             PRAYER

         For these reasons, Defendant asks the Court to dismiss Plaintiff’s suit, render judgment

that Plaintiff take nothing, award reasonable and necessary attorney fees to Defendant, assess

costs against Plaintiff, and award Defendant all other relief to which Defendant is entitled.




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                                        Respectfully submitted,

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                                            Senior Dental Insurance Solutions, LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon
all counsel of record, as listed below via hand delivery, facsimile, email and/or My File Runner
using the CM/ECF system, on this the 5th day of August, 2016.

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